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17 RESORT GROUP, MANDALAY BAY, LLC, MGM RESORTS FESTIVAL
   GROUNDS, LLC, and MGM RESORTS VENUE MANAGEMENT, LLC
18
19                                UNITED STATES DISTRICT COURT

20                                     DISTRICT OF NEVADA

21
22 MGM RESORTS INTERNATIONAL,                         Case No.
   MANDALAY RESORT GROUP,
23 MANDALAY BAY, LLC f/k/a MANDALAY                   COMPLAINT FOR DECLARATORY
   CORP., MGM RESORTS FESTIVAL                        RELIEF
24 GROUNDS, LLC, MGM RESORTS VENUE
   MANAGEMENT, LLC
25
                    Plaintiffs,
26
              vs.
27
   CARLOS ACOSTA; EMMANUEL AFFRAN;
28 GREG AGUAYO; LILLIAN AGUIRRE;
     39268621.2
                                   COMPLAINT FOR DECLARATORY RELIEF
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1 DIONNDRA ALEXANDER; LESLIE
     ALWORTH; ENRIQUE ARGUETA; SHANE
2    ARMSTRONG; IMARI AUSBIE; TINA
     MARIE AVERY; JEFFREY BACHMAN;
3    JOSEPH I. BALAS; BREANNA GRACE
     FRANCL BALDRIDGE; MALINDA
4    BALDRIDGE; COLE BALDWIN; PAUL
     BALFOUR; ALICIA BEATTY; ELIZABETH
5    BEATTY; MATTHEW BEATTY; BRANDY
     BEAVER; BRANDON CHARLES BECKETT;
6    TINA BEDARTES; CHICO BELSER;
     CHRISTI BERAN; KAREN BERNEY;
7    JENNIFER L. BITHELL; RUSSELL BLECK;
     AARON BOUPHAPRASEUTH; JOSHUA
8    BRADY; CHANDRA BRIDGES; CRAIG
     ALAN BROCKETT; DEBBIE BROCKETT;
9    KALI BROCKETT; LEXIA BROCKETT;
     CAITLIN BRUNNER; ANDRE BRYANT;
10   JORI BUCKLAND; TIFFANIE BUEHLER;
     ANTHONY BURNS; ANDRETTI CAGE;
11   KIMBERLY CALDERON; EARLLITRA
     DANIELLE CARTER; ATHENA CASTILLA;
12   SHAYLA CATALDO; TEQUELA
     CHAPPELL; SAVANNA CHASCO; DANNY
13   CLUFF; GREG CLUFF; CODY COFFER;
     MARKIE COFFER; CONNIE D. COLEMAN;
14   KIMBERLY COLLINS; SUE ANN
     CORNWELL; DANIEL CORTES; BRETT
15   COSSAIRT; MANDI CROWDER; CHANELL
     CUELLAR; JUAN CUELLAR; RAINNA
16   RUSK DAVIS; WHITNEY DAY; JOHN
     DEANE; RACHEL DELAPAZ; HANNAH
17   DOMINGUEZ; JOMONT DOTTON;
     SANDRA DOUGLAS; MICHAEL DYER;
18   HUGH JOSEPH DYER III; SONYA ESTERS;
     EMILY EVANS; MICHELLE EVANS;
19   KRISTINA FALCO; CASSANDRA FIGGERS;
     DEANNA FINLEY; JUDITH FISHER;
20   BRISTINA FLATT; KENNETH SHAYNE
     FLETCHER; BETH GALOFARO; WILLIAM
21   GALVEZ; LACY GANN; DANA GETREU;
     COURTNEY GIBSON; JENNIFER GIBSON;
22   MICHAEL MERCED GILARDINO; JIMMY
     GILMORE; TOMAS GONZALEZ; HEATHER
23   GOOZE; MICHAEL GREENFIELD; JULIAN
     HAMILTON; ANGEL HANDLIN; DARREL
24   HANDLIN; MATTHEW HANSEN; MICHAEL
     HANSSON; CAROL HARDEN; JUSTIN
25   HARMAN; LAKHESHA HARRIS; TRINO
     HARRIS; JENNIFER HAUT; ELIZABETH
26   HEFLEY; GABRIELLE HEMPHILL;
     WILLIAM HENNING; RICHARD CRAIG
27   HERMANN; MARIO HERRERA;
     JACQUELYN HOFFING; MARCELLA
28   HOFFMAN; BRITTANY HORTON; MEGAN

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                           COMPLAINT FOR DECLARATORY RELIEF
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1 IANNUZZI; LUCA ICLODEAN; DMOREA
     JACKSON; JARON ANTHONY JAMERSON;
2    ANGELINA JAMES; COREY JOHNSON;
     DEANDRE JOHNSON; JAYNELLE
3    JOHNSON; JOHANNA JOHNSON; SARAH
     JOHNSON; EDGAR T. JONES; CHIQUANA
4    JOSHUA; MYLES KALK; AUTUM
     KAPINKIN; JAWAUNDO W. KIMMONS;
5    WILLIAM KING; NIKKOLE KNIGHT;
     ANGELL KNITTLE; ANNA KOPP; DAVID
6    KRONBERG; LORI KRUMME; MARY
     LYNN KUEFFNER; ATHEA LAVIN; AMIAH
7    LEE; ERIKA LEE; LISA LEE; NICK LEMAY;
     ALAN I. LEVITT; CHARLES LEXION;
8    YOLANDA LIZARDO; GABRIELA
     LOMAGLIO; VICENTE LOPEZ; SHAWNA
9    LOTT; JOSHUA LUIZ; JOY LUJAN;
     BRITTANY MACKAY; KERI MAHER;
10   CHRISTIAN MARQUEZ; TRACI
     MARSHALL; RICHARD MASUCCI;
11   LINDSEY MATA; TRAVIS MATHESON;
     STEVE MCBEE; DENISE MCCLELLAN;
12   LONNIE MCCORVEY; LYNNE MCCUE;
     TAMIKA MCGILL; CARMEN MCKINLEY;
13   CLEVELAND MCMATH; DOREEN
     MEDINA; TREZA MEKHAIL; PAIGE
14   MELANSON; ROSEMARIE MELANSON;
     STEPHANIE MELANSON; STEPHEN
15   MELANSON; ESTATE OF AUSTIN MEYER;
     ROMEO MEYER; ROBERT MILLER;
16   PHYLYSSA MONTOYA; ALYSSA MOORE;
     KATRINA MORGAN; SHANCELA MYERS;
17   MARIROSE NAING; ANTHONY DON E.
     NOARBE; AMBER NORCIA; ELSA NUNEZ;
18   ROSE O’TOOLE; KUULEI OTIS; STACIE
     OWENS; CHAD PACKARD; KAYCEE
19   PAUL; ELISA PEREZ; ANGELA MARIE
     PERRY; JEREMY PICKETT; JOSE PLAZA;
20   MACKENZIE PLUTA; DARRIAN PORTER;
     LAURA A. PUGLIA; KARMJIT RAJU;
21   JASMINE REIN; STANLEY RENDON; LEA
     RICHMOND; ISRAEL RIVERA; TONIA
22   ROCHELEAU; MICHAEL ROLLAND;
     MARK RUSSELL; VINCENT SAGER;
23   CHRISTOPHER SALINAS; LENEA
     SAMPSON; ALYSSA SANDS; JOSEPH
24   SARTIN; SARAH SCARLETT; SHAWN
     SCARLETT; SHAYLENNE SCARLETT; KIM
25   SCHMITZ; ALISON SHEEHE;
     CHRISTOPHER SHUEMAKER; BREANNA
26   SKAGEN; JENNIFER SKOFF; CHEYENNE
     SLOAN; EDEN SMITH; JASPER SMITH;
27   YVONNE SMITH; MARTIN SOLANO;
     SHELBY STALKER; CHRIS STEWART;
28   GREGORY TAVERNITE; SAM TAYLOR;

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                           COMPLAINT FOR DECLARATORY RELIEF
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1 WENDY TAYLOR-HILL; REGINALD
     THARPS; CHRISTINA THEBEAU; DAVID
2    W. THERIAULT; BREYANA THOMAS;
     GABRIELLE THOMAS; SAVANNAH
3    THOMAS; STEVEN THOME; ALVA BRUCE
     TILLEY; MARIYA TORO; KATHRYN
4    TRESSLER; JENNIFER A. TURNER;
     DEBORAH URRIZAGA; WILLIAM F.
5    VANDERVEER; FRANK VEALENCIS;
     TAMARA VEALENCIS; REGINA VIOLA;
6    ALYSSA WALKER; TIKIESHA WASP;
     DONALD WELTY; ZACHARY WILCOX;
7    JORDAN WILKINSON; JEFFERY
     WILLIAMS; TERACIO WILLIAMS; GARY
8    “OPIE” ALLEN WISE; JOHN YONTS; JAMIE
     ZALESKI; JANET ZMYEWSKI; THOMAS
9    ZMYEWSKI,

10                DEFENDANTS.

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                           COMPLAINT FOR DECLARATORY RELIEF
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 1                                          INTRODUCTION

 2            1.   On October 1, 2017, Stephen Paddock carried out a mass attack at the Route 91

 3 Harvest Festival in Las Vegas, Nevada.
 4            2.   Paddock intended to inflict mass injury, death and destruction. He killed 58

 5 persons and injured some 500 others. Paddock’s attack resulted in the highest number of deaths of
 6 any mass shooting in the Nation’s history.
 7            3.   Security for the concert was provided by Contemporary Services Corporation,

 8 whose security services have been certified by the Secretary of Homeland Security for protecting
 9 against and responding to acts of mass injury and destruction.
10            4.   Recognizing the national interest in such events, and in the development and

11 deployment of services certified by the Secretary of Homeland Security to prevent and respond to
12 such events, Congress has provided original and exclusive federal jurisdiction for any claims of
13 injuries arising out of or relating to mass violence where services certified by the Department were
14 deployed.
15            5.   Plaintiff MGM Resorts Festival Grounds, LLC owns and operates the Las Vegas

16 Village, at 3901 South Las Vegas Boulevard, Las Vegas, Nevada 89119, where the Route 91
17 Harvest Festival was held. Plaintiff Mandalay Bay, LLC owns and operates the Mandalay Bay
18 resort, which is adjacent to Las Vegas Village. Plaintiff MGM Resorts International is the parent
19 corporation, with an indirect 100% interest in Mandalay Bay, LLC, and MGM Resorts Festival
20 Grounds. Plaintiff MGM Resorts Venue Management, LLC is a Nevada limited liability
21 company.
22            6.    Paddock carried out his mass attack on the concert from a room on the 32nd floor

23 of the Mandalay Bay resort.
24            7.   Following Paddock’s attack, over 2,500 individuals (“Claimants”) have brought

25 lawsuits, or threatened to bring lawsuits, against Plaintiffs MGM Resorts Festival Grounds, LLC,
26 MGM Resorts International, Mandalay Bay, LLC, Mandalay Resort Group, and MGM Resorts
27 Venue Management, LLC (collectively, “the MGM Parties”), alleging that the MGM Parties
28 (among others) are liable for deaths, injuries, and emotional distress resulting from Paddock’s
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          COMPLAINT FOR DECLARATORY RELIEF RE APPLICATION OF SAFETY ACT, 6 U.S.C. §§ 441-444
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 1 attack. Claimants subsequently voluntarily dismissed these cases before they could be resolved,
 2 apparently with the intent of refiling.
 3            8.    Named as defendants in this case are Claimants who have brought lawsuits (which

 4 they subsequently voluntarily dismissed) against the MGM Parties, alleging claims arising from
 5 Paddock’s attack, and persons who, through counsel, have threatened to bring such claims against
 6 the MGM Parties.
 7            9.    Congress has enacted legislation to support the development of new technologies

 8 and services to prevent and respond to mass violence. That legislation, the Support Anti-
 9 Terrorism by Fostering Effective Technologies Act of 2002, 6 U.S.C. §§ 441-444 (also known by
10 the acronym, the “SAFETY Act”), provides a calibrated balance of remedies and limitations on
11 liabilities arising from mass attacks committed on U.S. soil where services certified by the
12 Department of Homeland Security were deployed.
13            10.   In the case of Paddock’s mass attack, certified technologies or services were

14 deployed by a professional security company, Contemporary Services Corporation (“CSC”),
15 which was employed as the Security Vendor for the Route 91 concert. As alleged in more detail
16 below, Paddock’s mass attack meets the requirements of the SAFETY Act as set forth in the
17 statute and the Regulations promulgated by the Department of Homeland Security.
18            11.   Defendants’ actual and threatened lawsuits implicate the services provided by CSC

19 because they implicate security at the concert, for example security training, emergency response,
20 evacuation, and adequacy of egress.
21            12.   As a result, the SAFETY Act applies to and governs all actions and any claims

22 arising out of or relating to Paddock’s mass attack. There are five key aspects of the Act and
23 implementing regulations promulgated by the Department of Homeland Security as authorized and
24 contemplated by the SAFETY Act. 6 C.F.R. § 25.1 et seq.
25            13.   First, the SAFETY Act creates a “Federal cause of action for claims arising out of

26 [or] relating to” an act of mass violence where certified services were deployed and where such
27 claims may result in losses to the Seller of the services. 6 U.S.C. § 442(a)(1).
28            14.   Second, the SAFETY Act expressly provides the federal courts with “original and

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 1 exclusive jurisdiction over all actions for any claim for loss” arising out of or related to such an
 2 attack. 6 U.S.C. § 442(a)(2).
 3            15.   Third, as confirmed by the Secretary’s implementing regulations promulgated after

 4 enactment of the SAFETY Act, the federal cause of action created by the statute is the exclusive
 5 claim available in such circumstances. 6 U.S.C.
 6 § 442(a)(1). The regulations state: “There shall exist only one cause of action for loss of property,
 7 personal injury, or death for performance or non-performance of the Seller’s Qualified Anti–
 8 Terrorism Technology in relation to an Act of Terrorism.” 6 C.F.R. § 25.7(d).
 9            16.   Fourth, the regulations further provide that “Such cause of action may be brought

10 only against the Seller of the Qualified Anti–Terrorism Technology and may not be brought
11 against the buyers, the buyers’ contractors, or downstream users of the Technology, the Seller's
12 suppliers or contractors, or any other person or entity.” 6 C.F.R. § 25.7(d).
13            17.   Fifth, to ensure compensation for victims in appropriate cases, the SAFETY Act

14 requires that the Seller “obtain liability insurance of such types and in such amounts as shall be
15 required in accordance with this section and certified by the Secretary to satisfy otherwise
16 compensable third-party claims arising out of, relating to, or resulting from an act of terrorism.” 6
17 U.S.C. § 443(a)(1).
18            18.   Congress enacted the SAFETY Act in recognition of the strong national interest in

19 encouraging the development and use of technologies and services that can help prevent and
20 respond to mass violence. The Act does so in part by assurance of limited liability in the
21 unfortunate event that an incident of mass violence occurs and injuries occur despite the
22 deployment of such technology. The Act also does so by creating original and exclusive
23 jurisdiction for the resolution of all controversies in federal court. 6 U.S.C. § 442(a)(2).
24            19.   The SAFETY Act expressly provides the federal courts with original and exclusive

25 jurisdiction over “all actions for and any claims for loss [or] injury” arising out of or relating to a
26 mass attack where certified services were provided and where such claims may result in losses to
27 the seller of those services. The Act and the associated regulations make clear that any such claim
28 against the MGM Parties must be dismissed.
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                                    COMPLAINT FOR DECLARATORY RELIEF
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 1            20.   By this action, the MGM Parties seek a declaratory judgment and further relief

 2 pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that the MGM parties
 3 cannot be held liable to Defendants for deaths, injuries, or other damages arising from Paddock’s
 4 attack.
 5                                               PARTIES

 6            A.    PLAINTIFFS

 7            21.   Plaintiff MGM RESORTS INTERNATIONAL is a Delaware corporation with its

 8 principal place of business in Las Vegas, Nevada.
 9            22.   Plaintiff MANDALAY RESORT GROUP is a Nevada corporation with its

10 principal place of business in Las Vegas, Nevada.
11            23.   Plaintiff, MANDALAY BAY, LLC f/k/a MANDALAY CORP. is a Nevada

12 limited liability company with a single member, Mandalay Resort Group.
13            24.   Plaintiff MGM RESORTS FESTIVAL GROUNDS, LLC is a Nevada limited

14 liability company with a single member, Mandalay Resort Group.
15            25.   Plaintiff MGM RESORTS VENUE MANAGEMENT, LLC is a Nevada limited

16 liability company with a single member, MGM Resorts International.
17
18            B.    DEFENDANTS

19            26.   Plaintiffs are informed and believe, and thereon allege, that defendant Carlos

20 Acosta is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
23 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
24            27.   Plaintiffs are informed and believe, and thereon allege, that defendant Emmanuel

25 Affran is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            28.   Plaintiffs are informed and believe and thereon allege that Defendant Greg Aguayo

 2 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            29.   Plaintiffs are informed and believe and thereon allege that Defendant Lillian

 6 Aguirre is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 7 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 8 Las Vegas, Nevada.
 9            30.   Plaintiffs are informed and believe, and thereon allege, that defendant Dionndra

10 Alexander is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
11 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
12 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
13 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
14 BC684047.
15            31.   Plaintiffs are informed and believe and thereon allege that Defendant Leslie

16 Alworth is a resident of the State of Nevada. Defendant has, through counsel, asserted or
17 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
18 Las Vegas, Nevada.
19            32.   Plaintiffs are informed and believe, and thereon allege, that defendant Enrique

20 Argueta is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
23 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
24            33.   Plaintiffs are informed and believe, and thereon allege, that defendant Shane

25 Armstrong is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
26 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
27 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Athena Castilla v.
28 MGM, filed October 18, 2017, in the Los Angeles Superior Court (“LASC”), case number
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                                   COMPLAINT FOR DECLARATORY RELIEF
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 1 BC680193.
 2            34.   Plaintiffs are informed and believe, and thereon allege, that defendant Imari Ausbie

 3 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 6 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 7            35.   Plaintiffs are informed and believe, and thereon allege, that defendant Tina Marie

 8 Avery is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 9 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
10 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
11 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
12            36.   Plaintiffs are informed and believe and thereon allege that Defendant Jeffrey

13 Bachman is a resident of the State of Nevada. Defendant has, through counsel, asserted or
14 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
15 Las Vegas, Nevada.
16            37.   Plaintiffs are informed and believe and thereon allege that Defendant Joseph l.

17 Balas is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
18 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            38.   Plaintiffs are informed and believe, and thereon allege, that defendant Breanna

21 Grace Francl Baldridge is a resident of the State of Nevada. Defendant has previously filed a
22 lawsuit (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs,
23 asserting claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in
24 Baldridge, et al. v. MGM, filed January 18, 2018, in Clark County District Court (“Clark
25 County”), case number A-18-767981-C.
26            39.   Plaintiffs are informed and believe, and thereon allege, that defendant Malinda

27 Baldridge is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
28 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
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 1 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Baldridge, et al. v.
 2 MGM, filed January 18, 2018, in Clark County District Court (“Clark County”), case number A-
 3 18-767981-C.
 4            40.   Plaintiffs are informed and believe, and thereon allege, that defendant Cole

 5 Baldwin is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            41.   Plaintiffs are informed and believe and thereon allege that Defendant Paul Balfour

10 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
11 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
12 Nevada.
13            42.   Plaintiffs are informed and believe and thereon allege that Defendant Alicia Beatty

14 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
15 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
16 Nevada.
17            43.   Plaintiffs are informed and believe and thereon allege that Defendant Elizabeth

18 Beatty is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
19 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            44.   Plaintiffs are informed and believe and thereon allege that Defendant Matthew

22 Beatty is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
23 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            45.   Plaintiffs are informed and believe, and thereon allege, that defendant Brandy

26 Beaver is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            46.   Plaintiffs are informed and believe, and thereon allege, that defendant Brandon

 3 Charles Beckett is a resident of the State of Nevada. Defendant has previously filed a lawsuit
 4 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
 5 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
 6 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 7 BC684047.
 8            47.   Plaintiffs are informed and believe and thereon allege that Defendant Tina Bedartes

 9 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
10 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
11 Nevada.
12            48.   Plaintiffs are informed and believe, and thereon allege, that defendant Chico Belser

13 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
14 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
15 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
16 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
17            49.   Plaintiffs are informed and believe, and thereon allege, that defendant Christi Beran

18 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
19 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
20 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
21 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
22            50.   Plaintiffs are informed and believe and thereon allege that Defendant Karen Berney

23 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
24 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
25 Nevada.
26            51.   Plaintiffs are informed and believe, and thereon allege, that defendant Jennifer L.

27 Bithell is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            52.   Plaintiffs are informed and believe, and thereon allege, that defendant Russell

 4 Bleck is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
 7 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
 8            53.   Plaintiffs are informed and believe, and thereon allege, that defendant Aaron

 9 Bouphapraseuth is a resident of the State of Nevada. Defendant has previously filed a lawsuit
10 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
11 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
12 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
13 BC684047.
14            54.   Plaintiffs are informed and believe and thereon allege that Defendant Joshua Brady

15 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
16 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            55.   Plaintiffs are informed and believe, and thereon allege, that defendant Chandra

19 Bridges is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            56.   Plaintiffs are informed and believe, and thereon allege, that defendant Craig Alan

24 Brockett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
27 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
28            57.   Plaintiffs are informed and believe, and thereon allege, that defendant Debbie

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 1 Brockett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 2 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 3 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 4 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 5            58.   Plaintiffs are informed and believe, and thereon allege, that defendant Kali Brockett

 6 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            59.   Plaintiffs are informed and believe, and thereon allege, that defendant Lexia

11 Brockett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
14 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
15            60.   Plaintiffs are informed and believe, and thereon allege, that defendant Caitlin

16 Brunner is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Brunner v. MGM, filed
19 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
20 764745-C.
21            61.   Plaintiffs are informed and believe, and thereon allege, that defendant Andre

22 Bryant is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            62.   Plaintiffs are informed and believe, and thereon allege, that defendant Jori

27 Buckland is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Buckland v. MGM, filed
 2 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
 3 764741-C.
 4            63.   Plaintiffs are informed and believe and thereon allege that Defendant Tiffanie

 5 Buehler is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 6 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 7 Las Vegas, Nevada.
 8            64.   Plaintiffs are informed and believe and thereon allege that Defendant Anthony

 9 Burns is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
10 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
11 Nevada.
12            65.   Plaintiffs are informed and believe, and thereon allege, that defendant Andretti

13 Cage is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
14 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
15 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
16 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
17            66.   Plaintiffs are informed and believe, and thereon allege, that defendant Kimberly

18 Calderon is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
19 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
20 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
21 filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-18-
22 767288-C.
23            67.   Plaintiffs are informed and believe, and thereon allege, that defendant Earllitra

24 Danielle Carter is a resident of the State of Nevada. Defendant has previously filed a lawsuit
25 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
26 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
27 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
28 BC684047.
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 1            68.   Plaintiffs are informed and believe, and thereon allege, that defendant Athena

 2 Castilla is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Athena Castilla v. MGM,
 5 filed October 18, 2017, in the Los Angeles Superior Court (“LASC”), case number BC680193.
 6            69.   Plaintiffs are informed and believe, and thereon allege, that defendant Shayla

 7 Cataldo is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Cataldo v. MGM, filed
10 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
11 764738-C.
12            70.   Plaintiffs are informed and believe, and thereon allege, that defendant Tequela

13 Chappell is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
14 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
15 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
16 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
17            71.   Plaintiffs are informed and believe and thereon allege that Defendant Savanna

18 Chasco is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
19 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
20 Nevada.
21            72.   Plaintiffs are informed and believe, and thereon allege, that defendant Danny Cluff

22 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            73.   Plaintiffs are informed and believe and thereon allege that Defendant Greg Cluff is

27 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
28 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
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 1            74.   Plaintiffs are informed and believe and thereon allege that Defendant Cody Coffer

 2 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            75.   Plaintiffs are informed and believe, and thereon allege, that defendant Markie

 6 Coffer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            76.   Plaintiffs are informed and believe, and thereon allege, that defendant Connie D.

11 Coleman is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Gasper, et al. v. MGM, filed
14 November 20, 2017, in Los Angeles Superior Court (“LASC”), case number BC684143
15            77.   Plaintiffs are informed and believe, and thereon allege, that defendant Kimberly

16 Collins is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
19 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
20            78.   Plaintiffs are informed and believe and thereon allege that Defendant Sue Ann

21 Cornwell is a resident of the State of Nevada. Defendant has, through counsel, asserted or
22 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
23 Las Vegas, Nevada.
24            79.   Plaintiffs are informed and believe, and thereon allege, that defendant Daniel

25 Cortes is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            80.   Plaintiffs are informed and believe, and thereon allege, that defendant Brett

 2 Cossairt is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            81.   Plaintiffs are informed and believe and thereon allege that Defendant Mandi

 7 Crowder is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 8 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 9 Las Vegas, Nevada.
10            82.   Plaintiffs are informed and believe and thereon allege that Defendant Chanell

11 Cuellar is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
12 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
13 Nevada.
14            83.   Plaintiffs are informed and believe and thereon allege that Defendant Juan Cuellar

15 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
16 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            84.   Plaintiffs are informed and believe, and thereon allege, that defendant Rainna Rusk

19 Davis is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            85.   Plaintiffs are informed and believe and thereon allege that Defendant Whitney Day

24 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
25 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
26 Nevada.
27            86.   Plaintiffs are informed and believe and thereon allege that Defendant John Deane is

28 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
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 1 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 2            87.   Plaintiffs are informed and believe, and thereon allege, that defendant Rachel

 3 DelaPaz is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 6 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 7            88.   Plaintiffs are informed and believe, and thereon allege, that defendant Hannah

 8 Dominguez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 9 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
10 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
11 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
12 BC684047.
13            89.   Plaintiffs are informed and believe, and thereon allege, that defendant Jomont

14 Dotton is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            90.   Plaintiffs are informed and believe, and thereon allege, that defendant Sandra

19 Douglas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            91.   Plaintiffs are informed and believe, and thereon allege, that defendant Michael

24 Dyer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
25 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
26 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
27 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
28            92.   Plaintiffs are informed and believe, and thereon allege, that defendant Hugh Joseph

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 1 Dyer III is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 2 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 3 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 4 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 5            93.   Plaintiffs are informed and believe, and thereon allege, that defendant Sonya Esters

 6 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            94.   Plaintiffs are informed and believe and thereon allege that Defendant Emily Evans

11 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
12 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
13 Nevada.
14            95.   Plaintiffs are informed and believe, and thereon allege, that defendant Michelle

15 Evans is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            96.   Plaintiffs are informed and believe, and thereon allege, that defendant Kristina

20 Falco is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
23 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
24            97.   Plaintiffs are informed and believe, and thereon allege, that defendant Cassandra

25 Figgers is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            98.    Plaintiffs are informed and believe and thereon allege that Defendant Deanna

 2 Finley is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
 3 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            99.    Plaintiffs are informed and believe, and thereon allege, that defendant Judith Fisher

 6 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            100.   Plaintiffs are informed and believe, and thereon allege, that defendant Bristina Flatt

11 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
14 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
15            101.   Plaintiffs are informed and believe, and thereon allege, that defendant Kenneth

16 Shayne Fletcher is a resident of the State of Nevada. Defendant has previously filed a lawsuit
17 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
18 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
19 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
20 BC684047.
21            102.   Plaintiffs are informed and believe and thereon allege that Defendant Beth Galofaro

22 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
23 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
24 Nevada.
25            103.   Plaintiffs are informed and believe, and thereon allege, that defendant William

26 Galvez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            104.   Plaintiffs are informed and believe and thereon allege that Defendant Lacy Gann is

 3 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 4 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 5            105.   Plaintiffs are informed and believe and thereon allege that Defendant Dana Getreu

 6 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 7 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            106.   Plaintiffs are informed and believe, and thereon allege, that defendant Courtney

10 Gibson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            107.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer

15 Gibson is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
16 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            108.   Plaintiffs are informed and believe, and thereon allege, that defendant Michael

19 Merced Gilardino is a resident of the State of Nevada. Defendant has previously filed a lawsuit
20 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
21 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
22 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
23 BC684047.
24            109.   Plaintiffs are informed and believe and thereon allege that Defendant Jimmy

25 Gilmore is a resident of the State of Nevada. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
28            110.   Plaintiffs are informed and believe, and thereon allege, that defendant Tomas

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 1 Gonzalez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 2 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 3 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 4 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 5            111.   Plaintiffs are informed and believe, and thereon allege, that defendant Heather

 6 Gooze is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Gooze v. MGM, filed
 9 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
10 764718-C.
11            112.   Plaintiffs are informed and believe, and thereon allege, that defendant Michael

12 Greenfield is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
13 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
14 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v.
15 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number
16 BC687120.
17            113.   Plaintiffs are informed and believe, and thereon allege, that defendant Julian

18 Hamilton is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
19 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
20 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
21 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
22            114.   Plaintiffs are informed and believe and thereon allege that Defendant Angel

23 Handlin is a resident of the State of Nevada. Defendant has, through counsel, asserted or
24 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
25 Las Vegas, Nevada.
26            115.   Plaintiffs are informed and believe and thereon allege that Defendant Darrel

27 Handlin is a resident of the State of Nevada. Defendant has, through counsel, asserted or
28 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
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 1 Las Vegas, Nevada.
 2            116.   Plaintiffs are informed and believe, and thereon allege, that defendant Matthew

 3 Hansen is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 6 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 7            117.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

 8 Hansson is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 9 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
10 Las Vegas, Nevada.
11            118.   Plaintiffs are informed and believe, and thereon allege, that defendant Carol Harden

12 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            119.   Plaintiffs are informed and believe and thereon allege that Defendant Justin

17 Harman is a resident of the State of Nevada. Defendant has, through counsel, asserted or
18 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
19 Las Vegas, Nevada.
20            120.   Plaintiffs are informed and believe, and thereon allege, that defendant Lakhesha

21 Harris is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
24 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
25            121.   Plaintiffs are informed and believe, and thereon allege, that defendant Trino Harris

26 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            122.   Plaintiffs are informed and believe, and thereon allege, that defendant Jennifer Haut

 3 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 6 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 7            123.   Plaintiffs are informed and believe and thereon allege that Defendant Elizabeth

 8 Hefley is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
 9 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
10 Nevada.
11            124.   Plaintiffs are informed and believe and thereon allege that Defendant Gabrielle

12 Hemphill is a resident of the State of Nevada. Defendant has, through counsel, asserted or
13 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
14 Las Vegas, Nevada.
15            125.   Plaintiffs are informed and believe and thereon allege that Defendant William

16 Henning is a resident of the State of Nevada. Defendant has, through counsel, asserted or
17 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
18 Las Vegas, Nevada.
19            126.   Plaintiffs are informed and believe, and thereon allege, that defendant Richard

20 Craig Hermann is a resident of the State of Nevada. Defendant has previously filed a lawsuit
21 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
22 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
23 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
24 BC684047.
25            127.   Plaintiffs are informed and believe, and thereon allege, that defendant Mario

26 Herrera is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            128.   Plaintiffs are informed and believe and thereon allege that Defendant Jacquelyn

 3 Hoffing is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 4 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 5 Las Vegas, Nevada.
 6            129.   Plaintiffs are informed and believe, and thereon allege, that defendant Marcella

 7 Hoffman is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
10 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
11            130.   Plaintiffs are informed and believe, and thereon allege, that defendant Brittany

12 Horton is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            131.   Plaintiffs are informed and believe and thereon allege that Defendant Megan

17 Iannuzzi is a resident of the State of Nevada. Defendant has, through counsel, asserted or
18 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
19 Las Vegas, Nevada.
20            132.   Plaintiffs are informed and believe, and thereon allege, that defendant Luca

21 Iclodean is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Iclodean v. MGM, filed
24 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
25 764716-C.
26            133.   Plaintiffs are informed and believe, and thereon allege, that defendant Dmorea

27 Jackson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            134.   Plaintiffs are informed and believe, and thereon allege, that defendant Jaron

 4 Anthony Jamerson is a resident of the State of Nevada. Defendant has previously filed a lawsuit
 5 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
 6 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
 7 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 8 BC684047.
 9            135.   Plaintiffs are informed and believe, and thereon allege, that defendant Angelina

10 James is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            136.   Plaintiffs are informed and believe, and thereon allege, that defendant Corey

15 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            137.   Plaintiffs are informed and believe, and thereon allege, that defendant DeAndre

20 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
23 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
24            138.   Plaintiffs are informed and believe, and thereon allege, that defendant Jaynelle

25 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            139.   Plaintiffs are informed and believe, and thereon allege, that defendant Johanna

 2 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            140.   Plaintiffs are informed and believe, and thereon allege, that defendant Sarah

 7 Johnson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
10 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
11            141.   Plaintiffs are informed and believe, and thereon allege, that defendant Edgar T.

12 Jones is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            142.   Plaintiffs are informed and believe, and thereon allege, that defendant Chiquana

17 Joshua is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            143.   Plaintiffs are informed and believe and thereon allege that Defendant Myles Kalk is

22 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
23 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
24            144.   Plaintiffs are informed and believe and thereon allege that Defendant Autum

25 Kapinkin is a resident of the State of Nevada. Defendant has, through counsel, asserted or
26 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
27 Las Vegas, Nevada.
28            145.   Plaintiffs are informed and believe, and thereon allege, that defendant Jawaundo W.

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 1 Kimmons is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 2 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 3 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
 4 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 5 BC684047.
 6            146.   Plaintiffs are informed and believe, and thereon allege, that defendant William

 7 King is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
10 filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-18-
11 767288-C.
12            147.   Plaintiffs are informed and believe and thereon allege that Defendant Nikkole

13 Knight is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
14 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
15 Nevada.
16            148.   Plaintiffs are informed and believe, and thereon allege, that defendant Angell

17 Knittle is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            149.   Plaintiffs are informed and believe and thereon allege that Defendant Anna Kopp is

22 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
23 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
24            150.   Plaintiffs are informed and believe, and thereon allege, that defendant David

25 Kronberg is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            151.   Plaintiffs are informed and believe and thereon allege that Defendant Lori Krumme

 2 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            152.   Plaintiffs are informed and believe, and thereon allege, that defendant Mary Lynn

 6 Kueffner is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            153.   Plaintiffs are informed and believe and thereon allege that Defendant Athea Lavin

11 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
12 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
13 Nevada.
14            154.   Plaintiffs are informed and believe, and thereon allege, that defendant Amiah Lee is

15 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            155.   Plaintiffs are informed and believe, and thereon allege, that defendant Erika Lee is

20 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
23 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
24            156.   Plaintiffs are informed and believe, and thereon allege, that defendant Lisa Lee is a

25 resident of the State of Nevada. Defendant has previously filed a lawsuit (which was subsequently
26 voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising from the
27 October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
28 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            157.   Plaintiffs are informed and believe, and thereon allege, that defendant Nick Lemay

 2 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            158.   Plaintiffs are informed and believe, and thereon allege, that defendant Alan I. Levitt

 7 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Gasper, et al. v. MGM, filed
10 November 20, 2017, in Los Angeles Superior Court (“LASC”), case number BC684143
11            159.   Plaintiffs are informed and believe, and thereon allege, that defendant Charles

12 Lexion is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            160.   Plaintiffs are informed and believe, and thereon allege, that defendant Yolanda

17 Lizardo is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            161.   Plaintiffs are informed and believe and thereon allege that Defendant Gabriela

22 Lomaglio is a resident of the State of Nevada. Defendant has, through counsel, asserted or
23 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
24 Las Vegas, Nevada.
25            162.   Plaintiffs are informed and believe, and thereon allege, that defendant Vicente

26 Lopez is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            163.   Plaintiffs are informed and believe, and thereon allege, that defendant Shawna Lott

 3 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Lott v. MGM, filed
 6 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
 7 764736-C.
 8            164.   Plaintiffs are informed and believe, and thereon allege, that defendant Joshua Luiz

 9 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            165.   Plaintiffs are informed and believe, and thereon allege, that defendant Joy Lujan is

14 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            166.   Plaintiffs are informed and believe and thereon allege that Defendant Brittany

19 MacKay is a resident of the State of Nevada. Defendant has, through counsel, asserted or
20 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
21 Las Vegas, Nevada.
22            167.   Plaintiffs are informed and believe, and thereon allege, that defendant Keri Maher

23 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
24 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
25 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
26 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
27            168.   Plaintiffs are informed and believe and thereon allege that Defendant Christian

28 Marquez is a resident of the State of Nevada. Defendant has, through counsel, asserted or
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 1 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 2 Las Vegas, Nevada.
 3            169.   Plaintiffs are informed and believe, and thereon allege, that defendant Traci

 4 Marshall is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 5 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 6 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 7 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 8            170.   Plaintiffs are informed and believe, and thereon allege, that defendant Richard

 9 Masucci is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            171.   Plaintiffs are informed and believe, and thereon allege, that defendant Lindsey

14 Mata is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
17 filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-18-
18 767288-C.
19            172.   Plaintiffs are informed and believe, and thereon allege, that defendant Travis

20 Matheson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
21 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
22 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
23 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
24 BC684047.
25            173.   Plaintiffs are informed and believe, and thereon allege, that defendant Steve McBee

26 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            174.   Plaintiffs are informed and believe and thereon allege that Defendant Denise

 3 McClellan is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 4 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 5 Las Vegas, Nevada.
 6            175.   Plaintiffs are informed and believe, and thereon allege, that defendant Lonnie

 7 McCorvey is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 8 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 9 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
10 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
11 BC684047.
12            176.   Plaintiffs are informed and believe, and thereon allege, that defendant Lynne

13 McCue is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
14 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
15 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
16 filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-18-
17 767288-C.
18            177.   Plaintiffs are informed and believe, and thereon allege, that defendant Tamika

19 Mcgill is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            178.   Plaintiffs are informed and believe and thereon allege that Defendant Carmen

24 McKinley is a resident of the State of Nevada. Defendant has, through counsel, asserted or
25 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
26 Las Vegas, Nevada.
27            179.   Plaintiffs are informed and believe, and thereon allege, that defendant Cleveland

28 McMath is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in McMath v. MGM, filed
 3 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
 4 764720-C.
 5            180.   Plaintiffs are informed and believe, and thereon allege, that defendant Doreen

 6 Medina is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            181.   Plaintiffs are informed and believe and thereon allege that Defendant Treza

11 Mekhail is a resident of the State of Nevada. Defendant has, through counsel, asserted or
12 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
13 Las Vegas, Nevada.
14            182.   Plaintiffs are informed and believe, and thereon allege, that defendant Paige

15 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
16 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
17 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
18 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-
19 18-767288-C.
20            183.   Plaintiffs are informed and believe, and thereon allege, that defendant Rosemarie

21 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
22 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
23 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
24 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-
25 18-767288-C.
26            184.   Plaintiffs are informed and believe, and thereon allege, that defendant Stephanie

27 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
28 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
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 1 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
 2 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-
 3 18-767288-C.
 4            185.   Plaintiffs are informed and believe, and thereon allege, that defendant Stephen

 5 Melanson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 6 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 7 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v.
 8 MGM, filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-
 9 18-767288-C.
10            186.   Plaintiffs are informed and believe, and thereon allege that on October 1, 2017,

11 decedent Austin Meyer, was a resident of the State of Nevada. Plaintiffs are informed and believe
12 and thereon allege that Defendant, the Estate of Austin Meyer, has, through counsel, made claims
13 against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada, or,
14 alternatively, has indicated an intent to make such claims in the future (such as by way of the
15 filing of a separate lawsuit – now dismissed, by way of a letter of representation of counsel, or by
16 way of an evidence preservation letter from counsel).
17            187.   Plaintiffs are informed and believe, and thereon allege, that defendant Romeo

18 Meyer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
19 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
20 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
21 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
22            188.   Plaintiffs are informed and believe, and thereon allege, that defendant Robert

23 Miller is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
24 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
25 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
26 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
27            189.   Plaintiffs are informed and believe, and thereon allege, that defendant Phylyssa

28 Montoya is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            190.   Plaintiffs are informed and believe, and thereon allege, that defendant Alyssa

 5 Moore is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            191.   Plaintiffs are informed and believe and thereon allege that Defendant Katrina

10 Morgan is a resident of the State of Nevada. Defendant has, through counsel, asserted or
11 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
12 Las Vegas, Nevada.
13            192.   Plaintiffs are informed and believe, and thereon allege, that defendant Shancela

14 Myers is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
15 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
16 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
17 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
18            193.   Plaintiffs are informed and believe, and thereon allege, that defendant Marirose

19 Naing is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
22 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
23            194.   Plaintiffs are informed and believe, and thereon allege, that defendant Anthony

24 Don E. Noarbe is a resident of the State of Nevada. Defendant has previously filed a lawsuit
25 (which was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting
26 claims arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et
27 al. v. MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
28 BC684047.
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 1            195.   Plaintiffs are informed and believe, and thereon allege, that defendant Amber

 2 Norcia is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            196.   Plaintiffs are informed and believe and thereon allege that Defendant Elsa Nunez is

 7 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 8 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 9            197.   Plaintiffs are informed and believe, and thereon allege, that defendant Rose

10 O’Toole is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            198.   Plaintiffs are informed and believe, and thereon allege, that defendant Kuulei Otis

15 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            199.   Plaintiffs are informed and believe and thereon allege that Defendant Stacie Owens

20 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
21 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
22 Nevada.
23            200.   Plaintiffs are informed and believe and thereon allege that Defendant Chad Packard

24 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
25 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
26 Nevada.
27            201.   Plaintiffs are informed and believe, and thereon allege, that defendant Kaycee Paul

28 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 3 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 4            202.   Plaintiffs are informed and believe, and thereon allege, that defendant Elisa Perez is

 5 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 6 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 7 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 8 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 9            203.   Plaintiffs are informed and believe, and thereon allege, that defendant Angela

10 Marie Perry is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
11 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
12 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
13 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
14 BC684047.
15            204.   Plaintiffs are informed and believe, and thereon allege, that defendant Jeremy

16 Pickett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
19 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
20            205.   Plaintiffs are informed and believe, and thereon allege, that defendant Jose Plaza is

21 a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
24 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
25            206.   Plaintiffs are informed and believe, and thereon allege, that defendant Mackenzie

26 Pluta is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            207.   Plaintiffs are informed and believe, and thereon allege, that defendant Darrian

 3 Porter is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 6 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 7            208.   Plaintiffs are informed and believe and thereon allege that Defendant Laura A.

 8 Puglia is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
 9 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
10 Nevada.
11            209.   Plaintiffs are informed and believe, and thereon allege, that defendant Karmjit Raju

12 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            210.   Plaintiffs are informed and believe and thereon allege that Defendant Jasmine Rein

17 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
18 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
19 Nevada.
20            211.   Plaintiffs are informed and believe, and thereon allege, that defendant Stanley

21 Rendon is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
22 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
23 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Spencer, et al. v. Paddock,
24 filed October 17, 2017, in Los Angeles Superior Court (“LASC”), case number BC680065.
25            212.   Plaintiffs are informed and believe and thereon allege that Defendant Lea

26 Richmond is a resident of the State of Nevada. Defendant has, through counsel, asserted or
27 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
28 Las Vegas, Nevada.
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 1            213.   Plaintiffs are informed and believe, and thereon allege, that defendant Israel Rivera

 2 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            214.   Plaintiffs are informed and believe and thereon allege that Defendant Tonia

 7 Rocheleau is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 8 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 9 Las Vegas, Nevada.
10            215.   Plaintiffs are informed and believe and thereon allege that Defendant Michael

11 Rolland is a resident of the State of Nevada. Defendant has, through counsel, asserted or
12 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
13 Las Vegas, Nevada.
14            216.   Plaintiffs are informed and believe and thereon allege that Defendant Mark Russell

15 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
16 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
17 Nevada.
18            217.   Plaintiffs are informed and believe, and thereon allege, that defendant Vincent

19 Sager is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
20 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
21 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
22 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
23            218.   Plaintiffs are informed and believe and thereon allege that Defendant Christopher

24 Salinas is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
25 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
26 Nevada.
27            219.   Plaintiffs are informed and believe, and thereon allege, that defendant Lenea

28 Sampson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
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 1 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 2 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Sampson v. MGM, filed
 3 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
 4 764733-C.
 5            220.   Plaintiffs are informed and believe and thereon allege that Defendant Alyssa Sands

 6 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 7 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            221.   Plaintiffs are informed and believe, and thereon allege, that defendant Joseph Sartin

10 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            222.   Plaintiffs are informed and believe, and thereon allege, that defendant Sarah

15 Scarlett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
18 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
19            223.   Plaintiffs are informed and believe, and thereon allege, that defendant Shawn

20 Scarlett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
23 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
24            224.   Plaintiffs are informed and believe, and thereon allege, that defendant Shaylenne

25 Scarlett is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
28 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
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 1            225.   Plaintiffs are informed and believe and thereon allege that Defendant Kim Schmitz

 2 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 3 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 4 Nevada.
 5            226.   Plaintiffs are informed and believe and thereon allege that Defendant Alison

 6 Sheehe is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
 7 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 8 Nevada.
 9            227.   Plaintiffs are informed and believe, and thereon allege, that defendant Christopher

10 Shuemaker is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
11 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
12 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
13 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
14 BC684047.
15            228.   Plaintiffs are informed and believe, and thereon allege, that defendant Breanna

16 Skagen is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
19 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
20            229.   Plaintiffs are informed and believe and thereon allege that Defendant Jennifer Skoff

21 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
22 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
23 Nevada.
24            230.   Plaintiffs are informed and believe, and thereon allege, that defendant Cheyenne

25 Sloan is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
28 filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-18-
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 1 767288-C.
 2            231.   Plaintiffs are informed and believe and thereon allege that Defendant Eden Smith is

 3 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 4 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 5            232.   Plaintiffs are informed and believe, and thereon allege, that defendant Jasper Smith

 6 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 7 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 8 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 9 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
10            233.   Plaintiffs are informed and believe, and thereon allege, that defendant Yvonne

11 Smith is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
12 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
13 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
14 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
15            234.   Plaintiffs are informed and believe and thereon allege that Defendant Martin

16 Solano is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened
17 to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
18 Nevada.
19            235.   Plaintiffs are informed and believe, and thereon allege, that defendant Shelby

20 Stalker is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
21 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
22 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Melanson, et al. v. MGM,
23 filed January 4, 2018, in the Clark County District Court (“Clark County”), case number A-18-
24 767288-C.
25            236.   Plaintiffs are informed and believe and thereon allege that Defendant Chris Stewart

26 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
27 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
28 Nevada.
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 1            237.   Plaintiffs are informed and believe, and thereon allege, that defendant Gregory

 2 Tavernite is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            238.   Plaintiffs are informed and believe and thereon allege that Defendant Sam Taylor is

 7 a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to assert
 8 claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
 9            239.   Plaintiffs are informed and believe, and thereon allege, that defendant Wendy

10 Taylor-Hill is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
11 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
12 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
13 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
14 BC684047.
15            240.   Plaintiffs are informed and believe, and thereon allege, that defendant Reginald

16 Tharps is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
17 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
18 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
19 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
20            241.   Plaintiffs are informed and believe and thereon allege that Defendant Christina

21 Thebeau is a resident of the State of Nevada. Defendant has, through counsel, asserted or
22 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
23 Las Vegas, Nevada.
24            242.   Plaintiffs are informed and believe, and thereon allege, that defendant David W.

25 Theriault is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
26 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
27 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
28 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
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 1            243.   Plaintiffs are informed and believe, and thereon allege, that defendant Breyana

 2 Thomas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 3 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 4 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 5 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 6            244.   Plaintiffs are informed and believe, and thereon allege, that defendant Gabrielle

 7 Thomas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 8 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 9 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
10 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
11            245.   Plaintiffs are informed and believe, and thereon allege, that defendant Savannah

12 Thomas is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM,
15 filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
16            246.   Plaintiffs are informed and believe, and thereon allege, that defendant Steven

17 Thome is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            247.   Plaintiffs are informed and believe, and thereon allege, that defendant Alva Bruce

22 Tilley is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            248.   Plaintiffs are informed and believe and thereon allege that Defendant Mariya Toro

27 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
28 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
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 1 Nevada.
 2            249.   Plaintiffs are informed and believe, and thereon allege, that defendant Kathryn

 3 Tressler is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
 4 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
 5 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Tressler v. MGM, filed
 6 November 15, 2017, in the Clark County District Court (“Clark County”), case number A-17-
 7 764722-C.
 8            250.   Plaintiffs are informed and believe, and thereon allege, that defendant Jennifer A.

 9 Turner is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
10 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
11 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
12 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
13            251.   Plaintiffs are informed and believe and thereon allege that Defendant Deborah

14 Urrizaga is a resident of the State of Nevada. Defendant has, through counsel, asserted or
15 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
16 Las Vegas, Nevada.
17            252.   Plaintiffs are informed and believe, and thereon allege, that defendant William F.

18 Vanderveer is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
19 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
20 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
21 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
22 BC684047.
23            253.   Plaintiffs are informed and believe, and thereon allege, that defendant Frank

24 Vealencis is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
25 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
26 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
27 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
28 BC684047.
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 1            254.   Plaintiffs are informed and believe, and thereon allege, that defendant Tamara

 2 Vealencis is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 3 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 4 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
 5 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 6 BC684047.
 7            255.   Plaintiffs are informed and believe and thereon allege that Defendant Regina Viola

 8 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 9 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
10 Nevada.
11            256.   Plaintiffs are informed and believe, and thereon allege, that defendant Alyssa

12 Walker is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
13 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
14 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
15 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
16            257.   Plaintiffs are informed and believe, and thereon allege, that defendant Tikiesha

17 Wasp is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
18 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
19 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
20 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
21            258.   Plaintiffs are informed and believe, and thereon allege, that defendant Donald

22 Welty is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
23 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
24 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
25 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
26            259.   Plaintiffs are informed and believe, and thereon allege, that defendant Zachary

27 Wilcox is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
28 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
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 1 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
 2 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 3            260.   Plaintiffs are informed and believe, and thereon allege, that defendant Jordan

 4 Wilkinson is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
 5 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
 6 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
 7 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
 8 BC684047.
 9            261.   Plaintiffs are informed and believe, and thereon allege, that defendant Jeffery

10 Williams is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
11 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
12 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
13 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
14            262.   Plaintiffs are informed and believe, and thereon allege, that defendant Teracio

15 Williams is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
16 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
17 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
18 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
19            263.   Plaintiffs are informed and believe, and thereon allege, that defendant Gary “Opie”

20 Allen Wise is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which
21 was subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims
22 arising from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v.
23 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
24 BC684047.
25            264.   Plaintiffs are informed and believe, and thereon allege, that defendant John Yonts

26 is a resident of the State of Nevada. Defendant has previously filed a lawsuit (which was
27 subsequently voluntarily dismissed) against one or more of the Plaintiffs, asserting claims arising
28 from the October 1, 2017, shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM,
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 1 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number BC684047.
 2            265.   Plaintiffs are informed and believe and thereon allege that Defendant Jamie Zaleski

 3 is a resident of the State of Nevada. Defendant has, through counsel, asserted or threatened to
 4 assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
 5 Nevada.
 6            266.   Plaintiffs are informed and believe and thereon allege that Defendant Janet

 7 Zmyewski is a resident of the State of Nevada. Defendant has, through counsel, asserted or
 8 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
 9 Las Vegas, Nevada.
10            267.   Plaintiffs are informed and believe and thereon allege that Defendant Thomas

11 Zmyewski is a resident of the State of Nevada. Defendant has, through counsel, asserted or
12 threatened to assert claims against Plaintiffs based upon the October 1, 2017, shooting incident in
13 Las Vegas, Nevada.
14                                     JURISDICTION AND VENUE

15            268.   This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 and 6

16 U.S.C. §442(a). As alleged hereinabove, the SAFETY Act expressly provides for original and
17 exclusive federal jurisdiction over actions arising from or relating to acts of mass violence where
18 technologies or services certified by the Secretary of Homeland Security were deployed. At the
19 time of Paddock’s mass attack at the Route 91 concert, security services were provided by
20 Contemporary Services Corporation as the Security Vendor for the Route 91 Harvest Festival.
21 CSC’s security services were certified by the Secretary of Homeland Security under the SAFETY
22 Act.
23            269.   This Court has personal jurisdiction over Defendants because they are residents of

24 the State of Nevada and are therefore subject to the general personal jurisdiction of this Court.
25            270.   Venue is proper in this Judicial District pursuant to 28 U.S.C.

26 § 1391(b)(1) because one or more of the Defendants are known to reside, or upon information and
27 belief, do reside, within this Judicial District.
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 1                     FIRST CAUSE OF ACTION FOR DECLATORY RELIEF

 2                                  (By Plaintiffs against all Defendants)

 3            271.   Plaintiffs reallege and incorporate by reference, as though fully set forth, the

 4 allegations of paragraphs 1-270, above.
 5            272.   Following Paddock’s mass attack on the concert, over 2,500 individuals have either

 6 sued the MGM Parties, or threatened to sue the MGM Parties, for claims alleged to arise from or
 7 relate to the attack. Several hundred individuals filed suit, and before the issues could be joined or
 8 resolved, they dismissed their claims, apparently with the intent of refiling.
 9            273.   Each Defendant either (a) has previously filed suit (and then dismissed it) against

10 one or more of the MGM Parties relating to the Paddock attack, or (b) through counsel has stated
11 an intention to sue the MGM Parties relating to the attack. There is no pending litigation between
12 Plaintiffs and Defendants relating to the attack.
13            274.   The claims alleged in the now-dismissed lawsuits include claims of alleged

14 negligence by the MGM Parties and others, including CSC, in protecting and safeguarding persons
15 including those Defendants who attended the Route 91 Festival.
16            275.   Defendants’ actual and threatened lawsuits implicate the services provided by CSC

17 because they implicate security at the concert, including training, emergency response, evacuation
18 and adequacy of egress.
19            276.   These claims are subject to the SAFETY Act, because (a) they arise from and relate

20 to an act of mass violence meeting the statutory requirements; (b) CSC provided security at the
21 concert, deploying services certified by the Department of Homeland Security under the SAFETY
22 Act to protect against or respond to such an attack; and (c) the claims may therefore result in loss
23 to CSC as the “Seller” of such certified services.
24            277.   The claims threatened against the MGM Parties by certain Defendants, through

25 counsel, also inevitably fall under the SAFETY Act for the very same reasons: (a) they arise from
26 and relate to an act of mass violence meeting the statutory requirements; (b) CSC provided
27 security at the concert, deploying services certified by the Department of Homeland Security
28 under the SAFETY Act to protect against or respond to such an attack; and (c) the claims may
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 1 therefore result in loss to CSC as the “Seller” of such certified services. If Defendants were injured
 2 by Paddock’s assault, as they allege, they were inevitably injured both because Paddock fired from
 3 his window and because they remained in the line of fire at the concert. Such claims inevitably
 4 implicate security at the concert—and may result in loss to CSC.
 5            278.   The SAFETY Act applies to claims “arising out of, relating to, or resulting from an

 6 act of terrorism.”
 7            279.   The SAFETY Act defines an act of terrorism: An act meets the requirements if the

 8 act is (i) “unlawful” (ii) “causes harm to a person … in the United States,” and (iii) “uses or
 9 attempts to use … weapons … designed or intended to cause mass … injury.” 6 U.S.C. §
10 444(2)(B). There is no requirement in the statute or regulations of an ideological motive or
11 objective for the attack for it to meet the requirements of the SAFETY Act.
12            280.   Paddock’s mass attack satisfies the requirements of the SAFETY Act and the

13 regulations: (i) it was “unlawful,” (ii) it resulted in death or injury to hundreds of persons in the
14 United States, and (iii) it involved weapons and other instrumentalities that were designed and
15 intended to cause, and which in fact caused, mass injury and death. Those weapons and
16 instrumentalities included rifles modified with bump stocks to spray fully automatic gun fire;
17 high-capacity magazines capable of holding between 60 and 100 rounds; and illegal incendiary
18 rounds intended to blow up the fuel tanks adjacent to the concert. Paddock used these weapons
19 and instrumentalities to fire hundreds of rounds at the crowd, and he fired incendiary rounds
20 which struck the fuel tanks but, fortunately, missed the fuel.
21            281.   The post-attack investigation revealed that Paddock brought in his van, which he

22 parked in the hotel garage, 90 pounds of explosives, consisting of 20 two-pound containers of
23 exploding targets, 10 one-pound containers of exploding targets and 2 twenty-pound bags of
24 explosive precursors.
25            282.   No MGM Party attempted to commit, knowingly participated in, aided, abetted,

26 committed, or participated in any conspiracy to commit any act of terrorism of criminal act related
27 to mass attack perpetrated by Stephen Paddock at the Route 91 Harvest Festival in Las Vegas,
28 Nevada, on October 1, 2017.
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 1            283.   The Secretary of Homeland Security may make a determination that conduct in

 2 question meets the statutory requirement, but neither the Act nor the regulations requires a formal
 3 certification. The Statute provides that the Secretary shall have exclusive authority to certify
 4 services, but the authority to determine whether an act of mass violence meets the statutory
 5 requirements is not exclusive to the Secretary.
 6            284.   Public statements by the Secretary of Homeland Security concerning the attack

 7 make clear that the attack meets the requirements of the SAFETY Act; indeed, based on the plain
 8 language of the statute, the regulations, and the facts, no other determination could be possible.
 9            285.   In congressional testimony on November 30, 2017, the Acting Secretary of

10 Homeland Security noted the emphasis of “terrorists and other violent criminals … on attacking
11 soft targets,” including “recent tragedies in Nevada.” The Acting Secretary went on to note that
12 the “SAFETY Act Program” “provide[s] critical incentives for the development and deployment
13 of anti-terrorism technologies by providing liability protections for ‘qualified anti-terrorism
14 technologies,’” which applies to a number of large sports and entertainment venues nationwide.
15            286.   In a May 2018 release, Department of Homeland Security noted that “mass

16 shootings” in various places, including at a “concert,” aim “to kill and maim unsuspecting
17 individuals” and thereby fall within the Department’s “primary mission” “to prevent terrorist
18 attacks within the U.S, reduce the vulnerability of the U.S. to terrorism, and minimize the damage
19 and assist in the recovery from terrorist attacks that do occur, including those in ST-CPs [soft-
20 targets-crowded places].” Department of Homeland Security, Soft Targets and Crowded Places
21 Security Plan Overview, May 2018, at page 2. The report goes on to note that the protections of
22 the SAFETY Act have been “approved for open venues such as sports arenas and stadia” – such as
23 the venue for the Route 91 Festival. Id. at p. 17.
24            287.   The Department continues its critical work to prevent and respond to mass

25 violence. In Congressional testimony on May 15, 2018, the Secretary testified that DHS is
26 “seeking to ramp up ‘soft target’ security efforts,” noting that DHS programs “address threats to
27 soft targets – including schools, entertainment venues, major events, and public spaces” (emphasis
28 added). Further, on June 4, 2018, DHS announced that it had “developed a ST-CP Security
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 1 Enhancement and Coordination Plan,” which has not been made public. The plan addresses “the
 2 increased emphasis by terrorists and other extremist actors to leverage less sophisticated methods
 3 to inflict harm in public areas … such as parks, … special event venues, and similar facilities.”
 4 See https://www.dhs.gov/publication/securing-soft-targets-and-crowded-spaces (emphasis added).
 5            288.   The SAFETY Act creates a single, exclusive federal cause of action for claims for

 6 injuries arising out of or relating to acts of mass violence where services certified by the
 7 Department of Homeland Security were deployed in defense against, response to, or recovery
 8 from such act and such claims result or may result in loss to the Seller.
 9            289.    Pursuant to the SAFETY Act, the Department of Homeland Security has certified

10 the services provided by CSC. The DHS Certification recognizes CSC’s security services as
11 appropriate for preventing and responding to acts of mass violence. 6 U.S.C. § 441; see also 48
12 C.F.R. § 50.201.
13            290.   CSC’s security services Certified by DHS include “Physical Security”; “Access

14 Control”; and “Crowd Management.”
15            291.   CSC’s Certified Crowd Management Services include:

16                  “Awareness of venue-specific emergency response protocols and evacuation

17 procedures to include emergency alert and mass-notification systems and sheltering procedures”;
18                  “Pre-event venue / event safety inspections”;

19                  “Facilitation of crowd movement during ingress, circulation, sheltering in place,

20 emergency evacuations, and egress”;
21                  “Pre-event coordination and multi-agency collaboration with public safety

22 agencies”;
23                  “Selection, vetting, and training of employees.”

24            292.   As alleged above, CSC was employed as the Security Vendor for the Route 91

25 concert. CSC’s responsibilities at the Route 91 Harvest Festival included providing the following
26 DHS Certified Services:
27                  “perimeter security, event access, festival grounds event security”;

28                  “Staff[ing] inner perimeter and gates”;

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 1                  “Protect[ing] against unauthorized access”;

 2                  “early warning … of perimeter breaches”;

 3                  “Secur[ing] internal festival grounds”;

 4                  “Patrol[ing] festival floor grounds and assist[ing] patrons with any security related

 5 issues”;
 6                  pre-event planning for “Security and Safety”;

 7                  “Emergency response” and “evacuation,” including evacuation for “terrorist threat”

 8 and “ensur[ing] that the exit routes and gates remain unobstructed.”
 9            293.   For the reasons set forth above, the SAFETY Act creates an exclusive cause of

10 action for any claims arising out of relating to Paddock’s mass attack and such claims may result
11 in loss to the Seller. Under the SAFETY Act, there “shall exist only one cause of action for loss
12 of property, personal injury, or death. 6 C.F.R. 25.7 (d).
13            294.   Such cause of action “may be brought only against the Seller of the Qualified Anti-

14 Terrorism Technology and may not be brought against the buyers, the buyer’s contractors, or
15 downstream users of the Technology, the Seller’s suppliers or contractors, or any other person or
16 entity.” 6 C.F.R. 25.7 (d). The SAFETY Act precludes any liability on the part of Plaintiffs to
17 Defendants relating to Paddock’s mass attack.
18            295.   In addition, the SAFETY Act provides that for any covered claims arising out of or

19 relating to an act of mass violence where certified services were provided, “the government
20 contractor defense applies in such a lawsuit,” which provides a complete defense to liability. 6
21 U.S.C. 442(d)(1). The government contractor defense precludes any finding of liability on the part
22 of Plaintiffs to Defendants relating to Paddock’s mass attack.
23            296.   An actual and justiciable controversy exists between Plaintiffs and Defendants

24 concerning the applicability of the SAFETY Act. Plaintiffs assert that the SAFETY Act precludes
25 any liability for any claims arising out of or relating to Paddock’s mass attack, whereas, on
26 information and belief, Defendants deny that the Act applies or that it precludes liability on their
27 claims against Plaintiffs.
28            297.   A judicial declaration as to whether the SAFETY Act applies and precludes

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 1 liability on Defendants’ claims against the Plaintiffs is necessary at this time so that the parties
 2 may ascertain their rights, and avoid the significant judicial waste that would occur if the lawsuits
 3 were allowed to proceed in the absence of a finding as to the applicability of the SAFETY Act.
 4                                             PRAYER FOR RELIEF

 5            WHEREFORE, Plaintiffs MGM Parties pray for judgment against Defendants, and each of

 6 them, as follows:
 7                1.     For a judicial declaration that:

 8                     a. Defendants’ claims arising from the attack by Stephen Paddock on October 1, 2017

 9                        in Las Vegas, Nevada are subject to and governed by the SAFETY Act, 6 U.S.C. §

10                        441 et seq.;

11                     b. the SAFETY Act precludes any finding of liability against Plaintiffs for any claim

12                        for injuries arising out of or related to Paddock’s mass attack, without prejudice to

13                        Defendants’ rights to pursue claims against the “Seller” under the Act, including to

14                        obtain proceeds of insurance that any such Seller was required by the Act to

15                        maintain;

16                     c. Plaintiffs have no liability of any kind to Defendants, or any of them, arising from

17                        the Paddock’s mass attack; and

18                2.     For such other and further legal or equitable relief as the Court deems just and proper.

19 DATED: July 13, 2018                              PISANELLI BICE

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